Case 1:19-cv-23688-MGC Document 49 Entered on FLSD Docket 12/30/2020 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                            Case No. 19-23688-Civ-COOKE/REID

 ALFREDO ROCA-MORENO III,

        Plaintiff,

 vs.

 KERRION DESOUZA, et al.,

       Defendants.
 _______________________________/
                 ORDER ADOPTING REPORT OF MAGISTRATE JUDGE
        THIS MATTER was referred to the Honorable Lisette M. Reid, United States
 Magistrate Judge, pursuant to 28 U.S.C. §636(b)(1)(B) and Administrative Order 2019-2, for a
 ruling on all pre-trial, non-dispositive matters and for a Report and Recommendation on any
 dispositive matters. ECF No. 2. On November 12, 2020, Judge Reid issued a Report and
 Recommendation of Magistrate Judge (the “Report”) recommending that the Court grant the
 Defendants’ Motion to Dismiss (ECF No. 31) and dismiss Plaintiff ’s complaint without
 prejudice. ECF No. 45. Plaintiff filed objections to the Report on December 15, 2020, ECF
 No. 47, to which the Defendants responded on December 22, 2020, ECF No. 48.
        The Court has considered the issues raised in Plaintiff ’s objections de novo.1 Having
 reviewed the record and the relevant legal authorities, the Court overrules Plaintiff ’s objections
 and concludes the Report is clear, cogent, and compelling. It is therefore ORDERED and
 ADJUDGED that the Report (ECF No. 45) is AFFIRMED and ADOPTED. Accordingly,
 the Court GRANTS Defendants’ Motion to Dismiss (ECF No. 31) and DISMISSES
 Plaintiff ’s Complaint (ECF No. 1) without prejudice. The Court directs the Clerk to CLOSE
 this case.




 1
  While Defendants argue this Court should disregard Plaintiff ’s objections as untimely, the
 Court notes the objections were mailed on December 3, 2020, only 21 days after the Report
 was mailed to the Plaintiff. As it is unclear when Plaintiff received the Report in the mail, the
 Court cannot conclude Plaintiff mailed his objections more than 14 days after he received the
 Report.
Case 1:19-cv-23688-MGC Document 49 Entered on FLSD Docket 12/30/2020 Page 2 of 2



         DONE and ORDERED in chambers, at Miami, Florida, this 30th day of December
 2020.




 Copies furnished to:
 Lisette M. Reid, U.S. Magistrate Judge
 Counsel of record
